UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -x
                                   :
UNITED STATES OF AMERICA
                                   :
            -v.-                          ORDER OF FORFEITURE
                                   :
JEREMY JONES,                             S1 05 Cr. 1115 (WHP)
                                   :
                    Defendant.
                                   :
- - - - - - - - - - - - - - - - - -x

            WHEREAS, on or about September 14, 2006, JEREMY JONES

(the “Defendant”), was charged in a two-count Superseding

Indictment S1 05 Cr. 1115 (WHP) (the “Indictment”) with

violations of 18 U.S.C. § 371; and 15 U.S.C. § 78j(b) and 78ff,

17 C.F.R. § 240.10b-5; for unlawfully, willfully and knowingly

committing securities fraud, and conspiring to commit securities

and wire fraud, and to fail to disclose compensation for

advertising a security;

            WHEREAS, the Indictment included a forfeiture

allegation seeking, pursuant to 18 U.S.C. § 981(a)(1)(c) and 28

U.S.C. § 2461, any and all property, real and personal, that

constitutes or is derived from proceeds traceable to the

commission of the offenses, including, but not limited to, a

money judgment in the amount of $300,000.00 in United States

currency;

            WHEREAS, on or about September 22, 2006, the defendant

pleaded guilty to both counts of the Indictment;
           WHEREAS, the defendant was sentenced on May 2, 2008,

pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461, to a

forfeiture money judgment in the amount of $10,000.00 in United

States Currency, representing the amount of proceeds obtained as

a result of the offenses charged in the Indictment,

           NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED

THAT:

           1.    As a result of the offenses in the Indictment, for

which the defendant was found guilty, a money judgment in the

amount of $10,000 shall be entered against the defendant.

           2.    Pursuant to Rule 32.2(b)(3) of the Federal Rules

of Criminal Procedure, this Order of Forfeiture shall be final as

to the defendant, JEREMY JONES, at the time of sentencing and

shall be made part of the sentence of the defendant, and shall be

included in the judgment of conviction therewith.

           3.   The Court shall retain jurisdiction to enforce this

Order, and to amend it as necessary, pursuant to Fed. R. Crim. P.

32.2(e).

           4.    The Clerk of the Court shall forward four

certified copies of this Order to Assistant United States




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Attorney Steven D. Feldman, One St. Andrew’s Plaza, New York, New

York 10007.

Dated: New York, New York
       May ____, 2008
                                     SO ORDERED:




                                     HONORABLE WILLIAM H. PAULEY III
                                     UNITED STATES DISTRICT JUDGE




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